
666 S.E.2d 650 (2008)
STATE of North Carolina
v.
Christopher Ronald BOWMAN.
No. 105P08.
Supreme Court of North Carolina.
August 26, 2008.
Anne M. Middleton, Assistant Attorney General, Ronald L. Moore, District Attorney, for State of NC.
Mark Montgomery, Durham, for Bowman.
Prior report: ___ N.C.App. ___, 656 S.E.2d 638.

ORDER
Upon consideration of the conditional petition filed on the 24th day of March 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 26th day of August 2008."
